Case 1: 05- -C\/- 01106- .]DT- STA Document 4 Filed 05/12/05 Page 1 of/?/<p Page|D 1

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IN THE UNITED STATES DISTRICT COURT 4}'/<3 ‘

FOR THE WESTERN DISTRICT 0F TENNE$§F.§ <’°4 <Q/>
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GARY s. STASER, ) %5 c;>
) "1/ '
Plainuff, )
)
vs. ) No.= 05-1106-T-An
)
MUTUAL 0F 0MAHA INSURANCE )
COMPANY, )
)
Defendant. )

 

ORDER DENYING MOTION FOR EXTENSION OF 'I`IME

 

Before the Court is the Motion of Defendant Mutual of Omaha for an Extension of Time
to Answer, Respond or Otherwise Pleacl filed on April 14, 2005. On April 18, 2005 the Answer
to Complaint by Mutual of Omaha Insurance Company was filed at docket entry 3; therefore the
instant Motion is DENIED as moot.

IT IS SO ORDERED.

,___.__.
. .J
S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: MH'? //,. Zgg§

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with Rule 58 end.'or_79 (a) FRCP on °

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:05-CV-01106 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

